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           EXHIBIT A
      Case 2:19-cv-00307-MWF-SK Document 32-1 Filed 06/17/19 Page 2 of 2 Page ID #:109
                                        JUDGE MICHAEL W. FITZGERALD
                               SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

 Case No.             2:19-CV-00307-MWK-SK
 Case Name            Robyn Rihanna Fenty, et. al. vs. Fenty Entertainment, LLC, et. al

                                  Matter                                        Plaintiff(s)’ Date       Defendant(s)’ Date           Court Order
                                                                                mo / day / year           mo / day / year

 [ X ] Jury Trial or [ ] Court Trial
 (Tuesday at 8:30 a.m.)                                                        06/23/2020                 6/23/2020
                                                   3-4
                              Duration Estimate: ________ Days

 Final Pretrial Conference [LR 16] and Hearing on Motions In Limine
 (Monday at 11:00 a.m. -- three (3) weeks before trial date)
                                                                               06/01/2020                 6/1/2020
 Motions In Limine must be filed three (3) weeks before this date;
 oppositions are due two (2) weeks before this date; no reply briefs.

                          Event                              Weeks              Plaintiff(s)’ Date       Defendant(s)’ Date           Court Order
                                                           Before Trial         mo / day / year           mo / day / year

 Last Date to Hear Motion to Amend Pleadings /                                 08/05/2019                8/5/2019
 Add Parties

 Non-Expert Discovery Cut-Off (at least 4 weeks                 18             02/18/2020               2/18/2020
 before last date to hear motions)

 Expert Disclosure (Initial)                                                     02/25/2020                2/25/2020

 Expert Disclosure (Rebuttal)                                                   3/10/2020                 3/10/2020

 Expert Discovery Cut-Off                                      14 *            03/17/2020                 3/17/2020

 Last Date to Hear Motions (Monday at 10:00 a.m.)               14              03/17/2020                 3/17/2020

 Last Date to Conduct Settlement Conference                     12              03/31/2020                3/31/2020

 For Jury Trial
 ‚ File Memorandum of Contentions of Fact and                   6                05/19/2020               5/19/2020
    Law, LR 16-4
 ‚ File Exhibit and Witness Lists, LR 16-5.6
 ‚ File Status Report Regarding Settlement
 ‚ File Motions In Limine

 For Jury Trial
 ‚ Lodge Pretrial Conference Order, LR 16-7                     5               05/26/2020                5/26/2020
 ‚ File Agreed Set of Jury Instructions and Verdict
    Forms
 ‚ File Statement Regarding Disputed Instructions,
    Verdicts, etc.
 ‚ File Oppositions to Motions In LImine

 For Court Trial                                                3
 ‚ Lodge Findings of Fact and Conclusions of Law,
    LR 52, and Summaries of Direct Testimony
* The parties may choose to cut off expert discovery prior to MSJ briefing.

                                                                ADR [LR 16-15] Selection:

                   G Attorney Settlement Officer Panel         G
                                                               X      Private Mediation       GX Magistrate Judge (with Court approval)
                                                                        EXHIBIT A
